12 F.3d 1103
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that no party may cite an opinion not intended for publication unless the cases are related by identity between the parties or the causes of action.UNITED STATES OF AMERICA, Appellee,v.Michael ROBERTS, Appellant.
    No. 93-2005.
    United States Court of Appeals,Eighth Circuit.
    Submitted:  December 14, 1993.Filed:  January 3, 1994.
    
      Before McMILLIAN, Circuit Judge, BRIGHT, Senior Circuit Judge, and BEAM, Circuit Judge.
      PER CURIAM.
    
    
      1
      In a prior appeal,  United States v. Alexander, 982 F.2d 262 (8th Cir. 1992), we remanded this case for specific findings and reconsideration on the quantity of drugs attributable to the defendant for purpose of sentencing and to reconsider the sentence.
    
    
      2
      On reconsideration, the district court made findings and reimposed the initial sentence of 245 months (20 years, 5 months).
    
    
      3
      We have reviewed the record.  The district court's findings are not clearly erroneous and its sentencing conclusions fall within the Sentencing Guidelines.
    
    
      4
      Accordingly, we affirm.
    
    